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                   EXHIBIT E
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    (12)   United States Patent                                                            (10)   Patent No.:     US 8,238,412 B2
           Krinsky et al.                                                                  (45)   Date of Patent:     *Aug. 7,2012

    (54)   MULTICARRIER MODULATION                                                    (56)                       References Cited
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    (75)   Inventors: David M. Krinsky, Acton, MA (US);                                      4,566,100   A        111986   Mizuno et al.
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    (73)   Assignee: Aware, Inc., Bedford, MA (US)
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    ( *)   Notice:        Subject to any disclaimer, the term of this
                          patent is extended or adjusted under 35                     EP                  0889615            111999
                          U.S.c. 154(b) by 194 days.                                                                (Continued)
                          This patent is subject to a tenninal dis-                                          OTHER PUBLICATIONS
                          claimer.
                                                                                      U.S. Appl. No. 13/004,254, filed Jan. 11,2011, Krinsky et al.
    (21)   Appl. No.: 121779,660                                                                                    (Continued)
    (22)   Filed:         May 13, 2010                                                Primary Examiner - Khanh C Tran
                                                                                      (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
    (65)                      Prior Publication Data                                  Ross, PC
           US 201010226418 Al                  Sep. 9,2010
                                                                                      (57)                          ABSTRACT
                     Related U.S. Application Data                                    Upon detection of a trigger, such as the exceeding of an error
    (60)   Continuation of application No. 12/477,742, filed on                       threshold or the direction of a user, a diagnostic link system
           Jun. 3, 2009, now Pat. No. 7,835,430, which is a                           enters a diagnostic information transmission mode. This
           continuation of application No. 10/619,691, filed on                       diagnostic infonnation transmission mode allows for two
           Jul. 16, 2003, now Pat. No. 7,570,686, which is a                          modems to exchange diagnostic and/or test infonnation that
           division of application No. 091755,173, filed on Jan. 8,                   may not otherwise be exchangeable during normal commu-
           2001, now Pat. No. 6,658,052.                                              nication. The diagnostic infonnation transmission mode is
                                                                                      initiated by transmitting an initiate diagnostic link mode mes-
    (60)   Provisional application No. 60/224,308, filed on Aug.                      sage to a receiving modem accompanied by a cyclic redun-
           10, 2000, provisional application No. 601174,865,                          dancy check (CRC). The receiving modem determines, based
           filed on Jan. 7, 2000.                                                     on the CRC, if a robust communications channel is present. If
                                                                                      a robust communications channel is present, the two modems
    (51)   Int. Cl.                                                                   can initiate exchange of the diagnostic and/or test infonna-
           H04B 1/38                      (2006.01)                                   tion. Otherwise, the transmission power of the transmitting
    (52)   U.S. Cl. ....................................................... 3751219   modem is increased and the initiate diagnostic link mode
    (58)   Field of Classification Search . ... ... ... ..... ... 375/222,            message re-transmitted to the receiving modem until the CRC
                    375/224-225,227,220,284; 370/241,252,                             is detennined to be correct.
                         370/282; 379/22.02,22.04,27.01,27.03
           See application file for complete search history.                                             21 Claims, 2 Drawing Sheets



                                                             200                                                           300
                                Central Office                                                    Remote Terminal
                                                                  230                                     310
                                     210         (ATU-Ci-)_-----L'-----,                                                         330
                                                          Diagnostic
                                                         Information
                                                          Monitoring
                                                            Device




                                                                                                                        Diagnostic
                                                                                                                       Information
                                                                                                                         Storage
                                                                                                                          Deivce


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                                               230                                          310
                                                                                                       (ATU-R)         330
           210             (ATU-C)             IV'                                          iii
           !II                         Diagnostic                                     Message                      IV'                          ~
                                                                                                             Diagnostic                        ~
             CRC                      Information                                   Determination
,0                                                                                                                                        60   ~-....l
            Checker                    Monitoring           10               30        Device                 Device
                                                                                                                                                N
                                5        Device           IV'       5       IV'                                                         /l/     o
                                                                                                                                                ....
                                                                                                                                      User      N
\                          !II             I         I Splitter         SPlitterj
I                                                                                                                        340        Terminal
                          220                                                                    320
                          !II                                                                 IV'                       IV'
                                                                                                                                                rFJ
                                                                                                              Diagnostic
           Diagnostic                                                                  Power
                                                                                                             Information
                                                                                                                                                 =-
                                                                                                                                                ('D

            Device                                                                     Control                                                  .....
                                                                                                                                                ('D



                                                                                       Device
                                                                                                               Storage                           ....
                                                                                                               Deivce                           o....
                                                                                                                                                N

                                 20      POTS-C                                      POTS-R                                    40
                 Phone      I              !II                                        !II                        Phone
       I         Switch     I

                                                                                                                                                d
                                                                                                                                                rJl
                                                                Fig. 1                                                                          QO
                                                                                                                                               N
                                                                                                                                               wQO
                                                                                                                                               ~
                                                                                                                                                """'"
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                          )---------yes
                ?

                          S130
              Select
                          ;V                                                Fig. 2
            Diagnostic
                               )-----Yes'----~
              Mode                                              S170
                ?
                                            Transmit Initiate Diagnostic
                                  ,-----~                                  ~-----~
                                                 Mode Message                                 Yes
                                                                S180
                                                                ;V
                                                                >-----No               S190
                                                         ?        S200

                                               Determine Diagnostic         Re-transmit
                                                  Link Message                     ?
                    S140
                                         For Predetermined Number Of
                                 Yes
           Enter Normal                            Iterations
                                                                  S220
           Steady State
               Data
                                             Transmit Diagnostic Link
           Transmission
                                               Message With CRC             S210
                                                                                No



                          S150
              Error
            Threshold
                                                       CRC
            Exceeded
                                                      Correct
                ?
                                                         ?




                                                   Transmission
                                                      Power
                          S160
            ___-~==::::-1I:I--------'========'----Yes---------'
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                                                         US 8,238,412 B2
                                  1                                                                    2
            MULTICARRIER MODULATION                                      modem is typically located at the central office and is
          MESSAGING FOR POWER LEVEL PER                                  "upstream" from the customer premises. Consistent with
             SUBCHANNEL INFORMATION                                      industry practice, the modems are often referred to as "ATU-
                                                                         R" ("ADSL transceiver unit, remote," i.e., located at the cus-
                 RELATED APPLICATION DATA                                tomerpremises) and "ATU-C" ("ADSL transceiver unit, cen-
                                                                         tral office" i.e., located at the central office). Each modem
      This application is a continuation of U.S. application Ser.        includes a transmitter section for transmitting data and a
   No. 12/477,742, filed Jun. 3, 2009, which is a continuation of        receiver section for receiving data, and is of the discrete
   u.s. application Ser. No. 10/619,691, filed Jul. 16,2003, now multitone type, i.e., the modem transmits data over a multi-
   U.S. Pat. No. 7,570,686, which is a divisional of U.S. appli- 10 plicity of sub channels of limited bandwidth. Typically, the
   cation Ser. No. 091755,173, filed Jan. 8,2001, now U.S. Pat.          upstream or ATU -C modem transmits data to the downstream
   No. 6,658,052, which claims the benefit of and priority under         or ATU-R modem over a first set of subchannels, which are
   35 U.S.c. §119(e) to U.S. Provisional Application No.                 usually the higher-frequency subchannels, and receives data
   60/224,308, filed Aug. 10,2000 entitled "Characterization of          from the downstream or ATU-R modem over a second, usu-
   transmission lines using broadband signals in a multi-carrier 15 ally smaller, set of subchannels, commonly the lower-fre-
   DSL system," and U.S. Provisional Application No. 601174,             quency subchannels. By establishing a diagnostic link mode
   865, filed Jan. 7, 2000 entitled "Multicarrier Modulation Sys-        between the two modems, the systems and methods of this
   tem with Remote Diagnostic Transmission Mode", each of                invention are able to exchange diagnostic and test informa-
   which are incorporated herein by reference in their entirety.         tion in a simple and robust manner.
                                                                      20    In the diagnostic link mode, the diagnostic and test infor-
                   FIELD OF THE INVENTION                                mation is communicated using a signaling mechanism that
                                                                         has a very high immunity to noise and/or other disturbances
      This invention relates to test and diagnostic information. In      and can therefore operate effectively even in the case where
   particular, this invention relates to a robust system and             the modems could not actually establish an acceptable con-
   method for communicating diagnostic information.                   25 nection in their normal operational mode.
                                                                            For example, if the ATU-C and/or ATU-R modem fail to
              BACKGROUND OF THE INVENTION                                complete an initialization sequence, and are thus unable to
                                                                         enter a normal steady state communications mode, where the
      The exchange of diagnostic and test information between            diagnostic and test information would normally be
   transceivers in a telecommunications environment is an 30 exchanged, the modems according to the systems and meth-
   important part of a telecommunications, such as an ADSL,              ods of this invention enter a robust diagnostic link mode.
   deployment. In cases where the transceiver connection is not          Alternatively, the diagnostic link mode can be entered auto-
   performing as expected, for example, where the data rate is           matically or manually, for example, at the direction of a user.
   low, where there are many bit errors, or the like, it is necessary    In the robust diagnostic link mode, the modems exchange the
   to collect diagnostic and test information from the remote 35 diagnostic and test information that is, for example, used by a
   transceiver. This is performed by dispatching a technician to         technician to determine the cause of a failure without the
   the remote site, e.g., a truck roll, which is time consuming and      technician having to physically visit, i.e., a truckroll to, the
   expensive.                                                            remote site to collect data.
      In DSL technology, communications over a local sub-                   The diagnostic and test information can include, for
   scriber loop between a central office and a subscriber pre- 40 example, but is not limited to, signal to noise ratio informa-
   mises is accomplished by modulating the data to be transmit-          tion, equalizer information, programmable gain setting infor-
   ted onto a multiplicity of discrete frequency carriers which          mation, bit allocation information, transmitted and received
   are snmmed together and then transmitted over the subscriber          power information, margin information, status and rate infor-
   loop. Individually, the carriers form discrete, non-overlap-          mation, telephone line condition information, such as the
   ping communication subchannels oflimited bandwidth. Col- 45 length of the line, the number and location of bridged taps, a
   lectively, the carriers form what is effectively a broadband          wire gauge, or the like, or any other known or later developed
   communications channel. At the receiver end, the carriers are         diagnostic or test information that may be appropriate for the
   demodulated and the data recovered.                                   particular communications environment. For example, the
      DSL systems experience disturbances from other data ser-           exchanged diagnostic and test information can be directed
   vices on adjacent phone lines, such as, for example, ADSL, 50 toward specific limitations of the modems, to information
   HDSL, ISDN, T1, or the like. These disturbances may com-              relating to the modem installation and deployment environ-
   mence after the subj ect ADSL service is already initiated and,       ment, or to other diagnostic and test information that can, for
   since DSL for internet access is envisioned as an always-on           example, be determined as needed which may aid in evaluat-
   service, the effect of these disturbances must be ameliorated         ing the cause of a specific failure or problem. Alternatively,
   by the subject ADSL transceiver.                                   55 the diagnostic and test information can include the loop
                                                                         length and bridged tap length estimations as discussed in U.S.
                SUMMARY OF THE INVENTION                                 patent application Ser. No. 091755,172, now U.S. Pat. No.
                                                                         6,865,221, filed herewith and incorporated herein by refer-
      The systems and methods of this invention are directed             ence in its entirety.
   toward reliably exchanging diagnostic and test information 60            For example, an exemplary embodiment of the invention
   between transceivers over a digital subscriber line in the            illustrates the use of the diagnostic link mode in the commu-
   presence of voice communications and/or other disturbances.           nication of diagnostic information from the remote terminal
   For simplicity of reference, the systems and methods of the           (RT) transceiver, e.g.,ATU-R, to the central office (CO) trans-
   invention will hereafter refer to the transceivers generically as     ceiver, e.g., ATU-C. Transmission of information from the
   modems. One such modem is typically located at a customer 65 remote terminal to the central office is important since a
   premises such as a home or business and is "downstream"               typical ADSL service provider is located in the central office
   from a central office with which it communicates. The other           and would therefore benefit from the ability to determine
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                                                          US 8,238,412 B2
                                  3                                                                          4
   problems at the remote tenninal without a truckroll. However,            detect the REVERB 1 and SEGUEI signal using a simple
   it is to be appreciated, that the systems and the methods of this        matched filter in the presence of large amounts of noise and
   invention will work equally well in communications from the              other disturbances.
   central office to the remote terminal.
       These and other features and advantages of this invention                                        TABLE 1
   are described in or are apparent from the following detailed
                                                                                                Exemplary Message Variables
   description of the embodiments.
                                                                                    Data Sent in !be Diag Link
          BRIEF DESCRIPTION OF THE DRAWINGS                                         Train Type
                                                                       10           ADSL Standard
                                                                                    Chip Type
      The embodiments of the invention will be described in                         Vendor ID
   detail, with reference to the following figures wherein:                         Code Version
      FIG. 1 is a functional block diagram illustrating an exem-                    Average Reverb Received Signal
   plary communications system according to this invention;                         Programmable gain amplifier (PGA) Gain - Training
                                                                                    Programmable gain amplifier PGA Gain - Showtime
   and                                                                 15
                                                                                    Filter Present during Idle Channel Calculation
      FIG. 2 is a flowchart outlining an exemplary method for                       Average Idle Channel Noise
   communicating diagnostic and test infonnation according to                       Signal to Noise during Training
   this invention.                                                                  Signal to Noise during Showtime
                                                                                    Bits and Gains
                                                                                    Data Rate
       DETAILED DESCRIPTION OF THE INVENTION                           20           Framing Mode
                                                                                    Margin
      For ease of illustration the following description will be                    Reed-Solomon Coding Gain
   described in relation to the CO receiving diagnostic and test                    QAMUsage
                                                                                    Frequency Domain Equalizer (FDQ) Coefficients
   information from the RT. In the exemplary embodiment, the                        Gain Scale
   systems and methods of this invention complete a portion of         25           Time domain equalizer (TDQ) Coefficients
   the nonnal modem initialization before entering into the diag-                   Digital Echo Canceller (DEC) Coefficients
   nostic link mode. The systems and methods of this invention
   can enter the diagnostic link mode manually, for example, at                Table 1 shows an example of a data message that can be
   the direction of a technician or a user after completing a               sent by the RT to the CO during the diagnostic link mode. In
   portion of initialization. Alternatively, the systems and meth-     30
                                                                            this example, the RT modem sends 23 different data variables
   ods of this invention can enter the diagnostic link mode auto-
                                                                            to the CO. Each data variable contains different items of
   matically based on, for example, a bit rate failure, a forward
                                                                            diagnostic and test information that are used to analyze the
   error correction or a CRC error during showtime, e.g., the
   nonnal steady state transmission mode, or the like. The tran-            condition of the link. The variables may contain more than
   sition into the diagnostic link mode is accomplished by trans-      35
                                                                            one item of data. For example, the Average Reverb Signal
   mitting a message from the CO modem to the RT modem                      contains the power levels per tone, up to, for example, 256
   indicating that the modems are to enter into the diagnostic              entries, detected during theADSL Reverb signal. Conversely,
   link mode, as opposed to transitioning into the nonnal steady            the PGA Gain-Training is a single entry, denoting the gain
   state data transmission mode. Alternatively, the transition into         in dB at the receiver during the ADSL training.
   the diagnostic link mode is accomplished by transmitting a          40      Many variables that represent the type of diagnostic and
   message from the RT modem to the CO modem indicating                     test information that are used to analyze the condition of the
   that the modems are to enter into the diagnostic link mode as            link are sent from the RT modem to the CO modem. These
   opposed to transitioning into the nonnal steady state data               variables can be, for example, arrays with different lengths
   transmission mode. For example, the transition signal uses an            depending on, for example, information in the initiate diag-
   ADSL state transition to transition from a standard ADSL            45   nostic mode message. The systems and methods of this inven-
   state to a diagnostic link mode state.                                   tion can be tailored to contain many different diagnostic and
      In the diagnostic link mode, the RT modem sends diagnos-              test infonnation variables. Thus, the system is fully config-
   tic and test information in the form of a collection of infor-           urable, allowing subsets of data to be sent and additional data
   mation bits to the CO modem that are, for example, modu-                 variables to be added in the future. Therefore, the message
   lated by using one bit per DTM symbol modulation, as is used        50   length can be increased or decreased, and diagnostic and test
   in the C-Ratesl message in the ITU and ANSI ADSL stan-                   information customized, to support more or less variables as,
   dards, where the symbol may or may not include a cyclic                  for example, hardware, the environment and/or the telecom-
   prefix. Other exemplary modulation techniques include Dif-               munications equipment dictates.
   ferential Phase Shift Keying (DPSK) on a subset or all the                  Therefore, it is to be appreciated, that in general the vari-
   carriers, as specified in, for example, ITU standard G.994.1,       55   abIes transmitted from the modem being tested to the receiv-
   higher order QAM modulation (> 1 bit per carrier), or the like.          ing modem can be any combination of variables which allow
      In the one bit per DMT symbol modulation message                      for transmission of test and/or diagnostic infonnation.
   encoding scheme, a bit with value 0 is mapped to the                        FIG. 1 illustrates an exemplary embodiment of the addi-
   REVERB 1 signal and a bit with a value of 1 mapped to a                  tional modem components associated with the diagnostic link
   SEGUEI signal. The REVERBI and SEGUEI signals are                   60   mode. In particular, the diagnostic link system 100 comprises
   defined in the ITU and ANSI ADSL standards. The                          a central office modem 200 and a remote terminal modem
   REVERB 1 signal is generated by modulating all of the car-               300. The central office modem 200 comprises, in addition to
   riers in the multi carrier system with a known pseudo-random             the standardATU-C components, a CRC checker 210, a diag-
   sequence thus generating a wideband modulated signal. The                nostic device 220, and a diagnostic information monitoring
   SEGUEI signal is generated from a carrier by 180 degree             65   device 230. The remote terminal modem 300 comprises, in
   phase reversal of the REVERB 1 signal. Since both signals are            addition to the standard components associated with anATU-
   wideband and known in advance, the receiver can easily                   R, a message detennination device 310, a power control
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   device 320, a diagnostic device 330 and a diagnostic infor-               can include test infonnation that has been assembled during,
   mation storage device 340. The central office modem 200 and               for example, the nonnal ADSL initialization procedure. The
   the remote tenninal model 300 are also connected, via link 5,             diagnostic and/or test infonnation can include, but is not
   to a splitter 10 for a phone switch 20, and a splitter 30 for a           limited to, the version number of the diagnostic link mode, the
   phone 40. Alternatively, the ATU-R can operate without a                  length of the diagnostic and/or test information, the commu-
   splitter, e.g., splitterless, as specified in ITU standard G.992.2        nications standard, such as the ADSL standard, the chipset
   (G.lite) or with an in-line filter in series with the phone 40. In        type, the vendor identifications, the ATU version number, the
   addition, the remote terminal modem 300, can also be con-                 time domain received reverb signal, the frequency domain
   nected to, for example, one or more user tenninals 60. Addi-              reverb signal, the amplifier settings, the eo transmitter power
   tionally, the central office modem 200 can be connected to
                                                                        10   spectral density, the frequency domain received idle channel,
   one or more distributed networks 50, via link 5, which mayor
                                                                             the signal to noise ratio, the bits and gains and the upstream
   may not also be connected to one or more other distributed
                                                                             and downstream transmission rates, or the like.
   networks.
      While the exemplary embodiment illustrated in FIG. 1                      If the initiate diagnostic link mode message is not received
   shows the diagnostic link system 100 for an embodiment in            15   by the central office 200, the initiate diagnostic link mode
   which the remote tenninal modem 300 is communicating test                 message can, for example, be re-transmitted a predetermined
   and diagnostic information to the central office 200, it is to be         number of iterations until a detennination is made that it is not
   appreciated that the various components of the diagnostic link            possible to establish a connection.
   system can be rearranged such that the diagnostic and test                   Assuming the initiate diagnostic link mode message is
   information can be forwarded from the central office 200 to          20   received, then, for a predetennined number of iterations, the
   the remote terminal modem 300, or, alternatively, such that               diagnostic device 330, in cooperation with the remote tenni-
   both modems can send and receive diagnostic and/or test                   nal modem 300 and the diagnostic infonnation storage device
   information. Furthermore, it is to be appreciated, that the               340, transmits the diagnostic link message with a cyclic
   components of the diagnostic link system 100 can be located               redundancy check (eRC) to the central office modem 200.
   at various locations within a distributed network, such as           25   However, it is to be appreciated that in general, any error
   the-POTS network, or other comparable telecommunica-                      detection scheme, such as bit error detection, can be used
   tions network. Thus, it should be appreciated that the com-               without affecting the operation of the system. The central
   ponents of the diagnostic link system 100 can be combined                 office 200, in cooperation with the eRe checker 210, deter-
   into one device for respectively transmitting, receiving, or              mines if the eRe is correct. If the eRe is correct, the diag-
   transmitting and receiving diagnostic and/or test infonnation.       30   nostic information stored in the diagnostic information stor-
   As will be appreciated from the following description, and for            age device 340 has been, with the cooperation of the
   reasons of computational efficiency, the components of the                diagnostic device 330, and the remote tenninal modem 300,
   diagnostic link system 100 can be arranged at any location                forwarded to the central office 200 successfully.
   within a telecommunications network and/or modem without                     If, for example, the eRe checker 210 is unable to deter-
   affecting the operation of the system.                               35   mine the correct eRe, the diagnostic device 330, in coopera-
      The links 5 can be a wired or wireless link or any other               tion with power control device 320, increases the transmis-
   known or later developed element(s) that is capable of sup-               sion power of the remote terminal 300 and repeats the
   plying and communicating electronic data to and from the                  transmission of the diagnostic link message from the remote
   connected elements. Additionally, the user terminal 60 can                tenninal300 to the central office 200. This process continues
   be, for example, a personal computer or other device allowing        40   until the correct eRe is determined by the eRe checker 210.
   a user to interface with and communicate over a modem, such                  The maximum power level used for transmission of the
   as a DSL modem. Furthermore, the systems and method of                    diagnostic link message can be specified by, for example, the
   this invention will work equally well with splitterless and               user or the ADSL service operator. If the eRe checker 210
   low-pass mulitcarrier modem technologies.                                 does not determine a correct eRe at the maximum power
      In operation, the remote tenninal 300, commences its nor-         45   level and the diagnostic link mode can not be initiated then
   mal initialization sequence. The diagnostic device 330 moni-              other methods for detennining diagnostic information are
   tors the initialization sequence for a failure. If there is a             utilized, such as dispatching a technician to the remote site, or
   failure, the diagnostic device 330 initiates the diagnostic link          the like.
   mode. Alternatively, a user or, for example, a technician at the             Alternatively, the remote terminal 300, with or without an
   eo, can specifY that the remote terminal 300 enter into the          50   increase in the power level, can transmit the diagnostic link
   diagnostic link mode after completing a portion of an initial-            message several times, for example, 4 times. By transmitting
   ization. Alternatively still, the diagnostic device 330 can               the diagnostic link message several times, the eo modem 200
   monitor the nonnal steady state data transmission of the                  can use, for example, a diversity combining scheme to
   remote tenninal, and upon, for example, an error threshold                improve the probability of obtaining a correct eRe from the
   being exceeded, the diagnostic device 330 will initiate the          55   received diagnostic link message(s).
   diagnostic link mode.                                                        Alternatively, as previously discussed, the central office
      Upon initialization of the diagnostic link mode, the diag-             200 comprises a diagnostic infonnation monitoring device
   nostic device 330, in cooperation with the remote tenninal                230. The remote terminal 300 can also include a diagnostic
   300 will transmit an initiate diagnostic link mode message                information monitoring device. One or more of these diag-
   from the remote tenninal to the central office 200 (RT to eO).       60   nostic infonnation monitoring devices can monitor the nor-
   Alternatively, the central office modem 200 can transmit an               mal steady state data transmission between the remote tenni-
   initiate diagnostic link mode message to the remote tenninal              nal 300 and the central office 200. Upon, for example, the
   modem 300. If the initiate diagnostic link mode message is                normal steady state data transmission exceeded a predeter-
   received by the central office 200, the diagnostic device 330,            mined error threshold, the diagnostic infonnation monitoring
   in cooperation with the message detennination device 310,            65   device can initiate the diagnostic link mode with the coopera-
   determines a diagnostic link message to be forwarded to the               tion of the diagnostic device 300 and/or the diagnostic device
   central office 200. For example, the diagnostic link message              220.
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      FIG. 2 illustrates an exemplary method for entering a diag-            Furthermore, the disclosed method may be readily imple-
   nostic link mode in accordance with this invention. In par-            mented in software using object or object-oriented software
   ticular, control begins in step S100 and continues to step             development environments that provide portable source code
   SHOo In step SHO, the initialization sequence is commenced.            that can be used on a variety of computer, workstation, or
   Next, in step S120, if an initialization failure is detected,          modem hardware platforms. Alternatively, the disclosed
   control continues to step S170. Otherwise, control jumps to            diagnostic link system may be implemented partially or fully
   step S130. In step S130, a determination is made whether the           in hardware using standard logic circuits or a VLSI design.
   diagnostic link mode has been selected. If the diagnostic link         Other software or hardware can be used to implement the
   mode has been selected, control continues to step S170, oth-           systems in accordance with this invention depending on the
                                                                     10   speed and/or efficiency requirements of the systems, the par-
   erwise, control jumps to step S140.
                                                                          ticular function, and a particular software or hardware sys-
      In step S170, the initiate diagnostic link mode message is
                                                                          tems or microprocessor or microcomputer systems being uti-
   transmitted from, for example, the remote terminal to the
                                                                          1ized. The diagnostic link system and methods illustrated
   central office. Next, in step S180, a determination is made            herein however, can be readily implemented in hardware
   whether the initiate diagnostic mode message has been             15   and/or software using any known or later developed systems
   received by the co. If the initiate diagnostic mode message            or structures, devices and/or software by those of ordinary
   has been received by the CO, control jumps to step S200.               skill in the applicable art from the functional description
   Otherwise, control continues to step S190. In step S190, a             provided herein and with a general basic knowledge of the
   determination is made whether to re-transmit the initiate              computer and telecommunications arts.
   diagnostic mode message, for example, based on whether a          20      Moreover, the disclosed methods can be readily imple-
   predetermined number of iterations have already been com-              mented as software executed on a programmed general pur-
   pleted. If the initiate diagnostic mode message is to be re-           pose computer, a special purpose computer, a microproces-
   transmitted, control continues back to step S170. Otherwise,           sor, or the like. In these instances, the methods and systems of
   control jumps to step S160.                                            this invention can be implemented as a program embedded on
      In step S200, the diagnostic link message is determined, for   25   a modem, such a DSL modem, as a resource residing on a
   example, by assembling test and diagnostic information                 personal computer, as a routine embedded in a dedicated
   about one or more of the local loop, the modem itself, the             diagnostic link system, a central office, or the like. The diag-
   telephone network at the remote terminal, or the like. Next, in        nostic link system can also be implemented by physically
   step S210, for a predetermined number of iterations, steps             incorporating the system and method into a software and/or
   S220-S240 are completed. In particular, in step S220 a diag-      30   hardware system, such as a hardware and software systems of
   nostic link message comprising a CRC is transmitted to, for            a modem, a general purpose computer, anADSL line testing
   example, the co. Next, in step S230, the CRC is determined             device, or the like.
   Then, in step S240, a determination is made whether the CRC               It is, therefore, apparent that there is provided in accor-
   is correct. If the CRC is correct, the test and/or diagnostic          dance with the present invention, systems and methods for
   information has been successfully communicated and control        35   transmitting a diagnostic link message. While this invention
   continues to step S160.                                                has been described in conjunction with a number of embodi-
      Otherwise, if step S210 has completed the predetermined             ments' it is evident that many alternatives, modifications and
   number of iterations, control continues to step S250. In step          variations would be or are apparent to those of ordinary skill
   S250, the transmission power is increased and control con-             in the applicable arts. Accordingly, applicants intend to
   tinues back to step S210. Alternatively, as previously dis-       40   embrace all such alternatives, modifications, equivalents and
   cussed, the diagnostic link message may be transmitted a               variations that are within the spirit and the scope of this
   predetermined number of times, with our without a change in            invention.
   the transmission power.
      In step S140, the normal steady state data transmission is            What is claimed is:
   entered into between two modems, such as the remote termi -       45     1. A transceiver capable of transmitting test information
   nal and the central office modems. Next, in step S150, a               over a communication channel using multi carrier modulation
   determination is made whether an error threshold during the            comprising:
   normal steady state data transmission has been exceeded. If              a transmitter portion capable of transmitting a message,
   the error threshold has been exceeded, control continues to                 wherein the message comprises one or more data vari-
   step S170. Otherwise, control jumps to step S160. In step         50        ables that represent the test information, wherein bits in
   S160, the control sequence ends.                                            the message are modulated onto DMT symbols using
      As shown in FIG. 1, the diagnostic link mode system can be               Quadrature Amplitude Modulation (QAM) with more
   implemented either on a single program general purpose                      than 1 bit per subchannel and wherein at least one data
   computer, a modem, such as a DSL modem, or a separate                       variable of the one or more data variables comprises an
   program general purpose computer having a communications          55        array representing power level per subchannel informa-
   device. However, the diagnostic link system can also be                     tion.
   implemented on a special purpose computer, a programmed                  2. The transceiver of claim 1, wherein the power level per
   microprocessor or micro controller and peripheral integrated           sub channel information is based on a Reverb signal.
   circuit element, an ASIC or other integrated circuit, a digital          3. A transceiver capable of receiving test information over
   signal processor, a hardwired electronic or logic circuit such    60   a communication channel using multicarrier modulation
   as a discrete element circuit, a programmed logic device such          comprising:
   as a PLD, PLA, FPGA, PAL, or the like, and associated                    a receiver portion capable of receiving a message, wherein
   communications equipment. In general, any device capable                    the message comprises one or more data variables that
   of implementing a finite state machine that is capable of                   represent the test information, wherein bits in the mes-
   implementing the flowchart illustrated in FIG. 2 can be used      65        sage were modulated onto DMT symbols using Quadra-
   to implement a diagnostic link system according to this inven-              ture Amplitude Modulation (QAM) with more than 1 bit
   tion.                                                                       per subchannel and wherein at least one data variable of
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         the one or more data variables comprises an array rep-             (QAM) with more than 1 bit per sub channel and wherein
         resenting power level per sub channel information.                 at least one data variable of the one or more data vari-
      4. The transceiver of claim 3, wherein the power level per            ables comprises an array representing Signal to Noise
   sub channel information is based on a Reverb signal.                     ratio per subchannel during Showtime information; and
      5. In a transceiver capable of transmitting test infonnation       a receiver portion of the second transceiver capable of
   over a communication channel using multi carrier modula-                 receiving the message, wherein the message comprises
   tion, a method comprising:                                               the one or more data variables that represent the test
      transmitting a message, wherein the message comprises                 information, wherein the bits in the message were modu-
         one or more data variables that represent the test infor-          lated onto the DMT symbols using Quadrature Ampli-
         mation, wherein bits in the message are modulated onto 10
                                                                            tude Modulation (QAM) with more than 1 bit per sub-
         DMT symbols using Quadrature Amplitude Modulation
                                                                            channel and wherein the at least one data variable of the
         (QAM) with more than 1 bit per subchannel and wherein
                                                                            one or more data variables comprises the array repre-
         at least one data variable of the one or more data vari-
         abIes comprises an array representing power level per              senting Signal to Noise ratio per sub channel during
         sub channel infonnation.                                  15
                                                                            Showtime information.
      6. The method of claim 5, wherein the power level per              14. In a communications system for DSL service with a
   sub channel information is based on a Reverb signal.               first DSL transceiver capable of transmitting test infonnation
      7. In a transceiver capable of receiving test infonnation       over a communication channel using multi carrier modulation
   over a communication channel using multi carrier modula-           and a second DSL transceiver capable of receiving the test
   tion, a method comprising:                                      20 information over the communication channel using multi car-
      receiving a message, wherein the message comprises one          rier modulation, a method comprising:
         or more data variables that represent the test infonna-         transmitting a message from the first transceiver, wherein
         tion, wherein bits in the message were modulated onto              the message comprises one or more data variables that
         DMT symbols using Quadrature Amplitude Modulation                  represent the test information, wherein bits in the mes-
         (QAM) with more than 1 bit per subchannel and wherein 25           sage are modulated onto DMT symbols using Quadra-
         at least one data variable of the one or more data vari-           ture Amplitude Modulation (QAM) with more than 1 bit
         abIes comprises an array representing power level per              per subchannel and wherein at least one data variable of
         sub channel infonnation.                                           the one or more data variables comprises an array rep-
      8. The method of claim 7, wherein the power level per                 resenting Signal to Noise ratio per sub channel during
   sub channel information is based on a Reverb signal.            30       Showtime information; and
      9. A non-transitory computer-readable infonnation storage          receiving the message at the second transceiver, wherein
   media having stored thereon instructions that, if executed,              the message comprises the one or more data variables
   cause a transceiver to perfonn a method comprising:                      that represent the test infonnation, wherein the bits in the
      transmitting a message, wherein the message comprises                 message were modulated onto the DMT symbols using
         one or more data variables that represent the test infor- 35       Quadrature Amplitude Modulation (QAM) with more
         mation, wherein bits in the message are modulated onto             than 1 bit per sub channel and wherein the at least one
         DMT symbols using Quadrature Amplitude Modulation                  data variable of the one or more data variables comprises
         (QAM) with more than 1 bit per subchannel and wherein              the array representing Signal to Noise ratio per sub chan-
         at least one data variable of the one or more data vari-           nel during Showtime information.
         abIes comprises an array representing power level per 40        15. One or more non-transitory computer-readable infor-
         sub channel infonnation.                                     mation storage media having stored thereon instructions that,
      10. The media of claim 9, wherein the power level per           if executed, cause a communications system for DSL service
   sub channel information is based on a Reverb signal.               to perform a method comprising:
      11. A non-transitory computer-readable infonnation stor-           transmitting a message from a first transceiver, wherein the
   age media having stored thereon instructions that, if executed, 45       message comprises one or more data variables that rep-
   cause a transceiver to perfonn a method comprising:                      resent the test infonnation, wherein bits in the message
      receiving a message, wherein the message comprises one                are modulated onto DMT symbols using Quadrature
         or more data variables that represent the test infonna-            Amplitude Modulation (QAM) with more than 1 bit per
         tion, wherein bits in the message were modulated onto              sub channel and wherein at least one data variable of the
         DMT symbols using Quadrature Amplitude Modulation 50               one or more data variables comprises an array represent-
         (QAM) with more than 1 bit per subchannel and wherein              ing Signal to Noise ratio per sub channel during Show-
         at least one data variable of the one or more data vari-           time infonnation; and
         abIes comprises an array representing power level per           receiving the message at a second transceiver, wherein the
         sub channel infonnation.                                           message comprises the one or more data variables that
      12. The media of claim 11, wherein the power level per 55             represent the test information, wherein the bits in the
   sub channel information is based on a Reverb signal.                     message were modulated onto the DMT symbols using
      13. A communications system for DSL service comprising                Quadrature Amplitude Modulation (QAM) with more
   a first DSL transceiver capable of transmitting test infonna-            than 1 bit per sub channel and wherein the at least one
   tion over a communication channel using multicarrier modu-               data variable of the one or more data variables comprises
   lation and a second DSL transceiver capable of receiving the 60          the array representing Signal to Noise ratio per sub chan-
   test infonnation over the communication channel using mul-               nel during Showtime information.
   ticarrier modulation comprising:                                      16. A communications system for DSL service comprising
      a transmitter portion of the first transceiver capable of       a first DSL transceiver capable of transmitting test infonna-
         transmitting a message, wherein the message comprises        tion over a communication channel using multicarrier modu-
         one or more data variables that represent the test infor- 65 lation and a second DSL transceiver capable of receiving the
         mation, wherein bits in the message are modulated onto       test information over the communication channel using mul-
         DMT symbols using Quadrature Amplitude Modulation            ticarrier modulation comprising:
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      a transmitter portion capable of transmitting a message,             lation and a second DSL transceiver capable of receiving the
         wherein the message comprises one or more data vari-              test information over the communication channel using mul-
         ables that represent the test information, wherein bits in        ticarrier modulation comprising:
         the message are modulated onto DMT symbols using                     a transmitter portion capable of transmitting a message,
         Quadrature Amplitude Modulation (QAM) with more                         wherein the message comprises one or more data vari-
         than 1 bit per sub channel and wherein at least one data                ables that represent the test information, wherein bits in
         variable of the one or more data variables comprises an                 the message are modulated onto DMT symbols using
         array representing frequency domain received idle chan-                 Quadrature Amplitude Modulation (QAM) with more
         nel noise information; and                                              than 1 bit per subchannel and wherein at least one data
      a receiver portion capable of receiving the message,            10         variable of the one or more data variables comprises an
         wherein the message comprises the one or more data                      array representing power level per subchannel informa-
         variables that represent the test information, wherein the              tion; and
         bits in the message were modulated onto the DMT sym-                 a receiver portion capable of receiving the message,
         bols using Quadrature Amplitude Modulation (QAM)                        wherein the message comprises the one or more data
         with more than 1 bit per subchannel and wherein at least     15         variables that represent the test information, wherein
         one data variable of the one or more data variables com-                bits in the message were modulated onto DMT symbols
         prises the array representing frequency domain received                 using Quadrature Amplitude Modulation (QAM) with
         idle channel noise information.                                         more than 1 bit per sub channel and wherein at least one
      17. In a communications system for DSL service with a                      data variable of the one or more data variables comprises
   first DSL transceiver capable of transmitting test information     20         an array representing power level per subchannel infor-
   over a communication channel using multi carrier modulation                   mation.
   and a second DSL transceiver capable of receiving the test                 20. In a communications system for DSL service with a
   information over the communication channel using multicar-              first DSL transceiver capable of transmitting test information
   rier modulation, a method comprising:                                   over a communication channel using multi carrier modulation
      transmitting a message, wherein the message comprises           25   and a second DSL transceiver capable of receiving the test
         one or more data variables that represent the test infor-         information over the communication channel using multi car-
         mation, wherein bits in the message are modulated onto            rier modulation, a method comprising:
         DMT symbols using Quadrature Amplitude Modulation                    transmitting a message, wherein the message comprises
         (QAM) with more than 1 bit per subchannel and wherein                   one or more data variables that represent the test infor-
         at least one data variable of the one or more data vari -    30         mation, wherein bits in the message are modulated onto
         abIes comprises an array representing frequency domain                  DMT symbols using Quadrature Amplitude Modulation
         received idle channel noise information; and                            (QAM) with more than 1 bit per sub channel and wherein
      receiving the message, wherein the message comprises the                   at least one data variable of the one or more data vari-
         one or more data variables that represent the test infor-               ables comprises an array representing power level per
         mation, wherein the bits in the message were modulated       35         sub channel information; and
         onto the DMT symbols using Quadrature Amplitude                      receiving the message, wherein the message comprises the
         Modulation (QAM) with more than 1 bit per sub channel                   one or more data variables that represent the test infor-
         and wherein the at least one data variable of the one or                mation, wherein the bits in the message were modulated
         more data variables comprises the array representing                    onto DMT symbols using Quadrature Amplitude Modu-
         frequency domain received idle channel noise informa-        40         lation (QAM) with more than 1 bit per sub channel and
         tion.                                                                   wherein at least one data variable of the one or more data
      18. One or more non-transitory computer-readable infor-                    variables comprises an array representing power level
   mation storage media having stored thereon instructions that,                 per sub channel information.
   if executed, cause a communications system for DSL service                 21. One or more non-transitory computer-readable infor-
   to perform a method comprising:                                    45   mation storage media having stored thereon instructions that,
      transmitting a message, wherein the message comprises                if executed, cause a communications system for DSL service
         one or more data variables that represent the test infor-         to perform a method comprising:
         mation, wherein bits in the message are modulated onto               transmitting a message, wherein the message comprises
         DMT symbols using Quadrature Amplitude Modulation                       one or more data variables that represent the test infor-
         (QAM) with more than 1 bit per subchannel and wherein        50         mation, wherein bits in the message are modulated onto
         at least one data variable of the one or more data vari-                DMT symbols using Quadrature Amplitude Modulation
         abIes comprises an array representing frequency domain                  (QAM) with more than 1 bit per sub channel and wherein
         received idle channel noise information; and                            at least one data variable of the one or more data vari-
      receiving the message, wherein the message comprises the                   ables comprises an array representing power level per
         one or more data variables that represent the test infor-    55         sub channel information; and
         mation, wherein the bits in the message were modulated               receiving the message, wherein the message comprises the
         onto the DMT symbols using Quadrature Amplitude                         one or more data variables that represent the test infor-
         Modulation (QAM) with more than 1 bit per sub channel                   mation, wherein the bits in the message were modulated
         and wherein the at least one data variable of the one or                onto DMT symbols using Quadrature Amplitude Modu-
         more data variables comprises the array representing         60         lation (QAM) with more than 1 bit per sub channel and
         frequency domain received idle channel noise informa-                   wherein at least one data variable of the one or more data
         tion.                                                                   variables comprises an array representing power level
      19. A communications system for DSL service comprising                     per sub channel information.
   a first DSL transceiver capable of transmitting test informa-
   tion over a communication channel using multicarrier modu-                                     * * * * *
